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Tim Neuyen

TROY LEE & ASSOCIATES
117 N. 3 St #201

Yakima, WA 98901

50") 452-6235

Fax: (509) 452-2518

Attorney for Defendant
JERROD JUSTIN HALE

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WASHINGTON

Case No.: 4:21-CR-06008-SMJ-3

UNITED STATES OF AMERICA,
_ DEFENDANT’S STATEMENT OF
Plaintiff, REASONS IN SUPPORT OF THE
vs MOTION TO CONTINUE TRIAL

JERROD JUSTIN HALE,
Defendant

 

 

My attorney has advised me of my right under the Speedy Trial Act,
18 U.S.C. § 3161, to go to trial within a seventy-day period. My attorney has
also advised me that a continuance of the trial is needed, and we discussed
the reasons for a continuance.

A motion to continue the trial has been filed.

My attorney has advised me, and I understand that, if the Court grants

the motion to continue that all time between the date the motion to continue

Statement of Reasons- |

 
 

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was fited-and the new date for trial will be excluded tronr the speedy=-triall
period under the Speedy Trial Act.

After reviewing the motion and discussing the reasons for the
requested continuance with my attorney, I knowingly and voluntarily ask
this Court to grant that motion to continue and reset the trial date from its
current date of the trial date from its current date of May 10, 2021 to a date
not later than August 23, 2021 for the reasons found in 18 U.S.C. § 3161: I
have not been able to fully review the discovery with my attorney. I want to
provide my counsel with adequate time to prepare for trial, if that is what ||
choose to do.

I declare under penalty of perjury that the foregoing is true and

 

 

correct.
£3,
Ce 3/25 /202\
7 —
Jerrod Justin Hale Date
Defendant teleotionically anoroved and vernittved counsel
to sign

I have read this form and discussed the contents with my client

/s/ Tim Neuyen

Tim Nguyen, WSBA No. 50579
Attorney for Defendant

117 N. 3 Street #201

Yakima, WA 98901

(509) 452-6235

(509) 452-2518 fax
timnguyen@troyleelaw.net

Statement of Reasons- 2

 
 

 

—CERTIFICATE OF SERVICE
I hereby certify that on March 25, 2021, I electronically filed the
Statement of Reasons to Continue Trial with the Clerk of the Court using the

CM/ECF System, which will send notification of such filing to the

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following: Stephanie Van Marter, Assistant United States Attorney.

Statement of Reasons- 3

/s/ Tim Nguyen

Tim Nguyen, WSBA No. 50579
Attorney for Defendant

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